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                         IN THE UNITED STATES DISTRICT COURT                                   ,

                        FOR THE WESTERN DISTRICT OF VIRGINIA                           August 21, 2024
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                              CHARLOTTESVILLE DIVISION                               *, +, , (
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   JOHN DOE and JANE DOE

                  Plaintiffs,

   v.                                                   Case No. 3:22-cv-49-NKM-JCH

   JOSHUA MAST, et al.,

                  Defendants.


              PROPOSED ORDER GRANTING CONSENT MOTION FOR
              EXTENSION AND TO SET A BRIEFING SCHEDULE FOR
        PLAINTIFFS’ MOTIONS TO DISMISS DEFENDANTS’ COUNTERCLAIMS

         Having considered Plaintiffs’ Consent Motion for Extension and Briefing Schedule for

  Plaintiffs’ Motions to Dismiss Defendants’ Counterclaims (“Consent Motion”), and for good cause

  shown, it is hereby ORDERED that the Consent Motion is granted. It is further ORDERED that

  the Plaintiffs’ motions to dismiss will be subject to the following schedule:

         Plaintiffs’ Motions to Dismiss:        Wednesday, September 11, 2024

         Defendants’ Responses:                 Tuesday, October 15, 2024

         Plaintiffs’ Replies:                   Tuesday, October 29, 2024

         It is SO ORDERED.
                      21st
         Entered this ___ day of August, 2024.



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                                                ___________________
                                                                 ______________
                                                                 ____
                                                Judge
